                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,

                        Plaintiffs,

                 v.                                            Civil Action No. 5:21-cv-844 (XR)
                                                               (consolidated cases)
 STATE OF TEXAS, et al.,

                        Defendants.


                      UNOPPOSED MOTION TO VACATE DEADLINES

       Pursuant to this Court’s guidance in open court regarding the Amended Scheduling

Order, ECF No. 368, the United States respectfully requests that the Court vacate the May 13,

2022 close of fact discovery and all remaining deadlines in the Amended Scheduling Order

pending discussions between the parties regarding a revised Scheduling Order and trial date.

       Good cause exists for this motion to allow the parties to meet and confer regarding a

revised scheduling order and to proceed toward orderly resolution of this case. No party will be

prejudiced by this motion, and no party opposes the deadlines being vacated to allow for

discussions of a revised scheduling order proposal. The parties will file any revised scheduling

proposals by June 1, 2022.




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Date: May 18, 2022

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                       2
                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 18, 2022, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, which will send notification of this filing to counsel of
record.


                                              /s/ Michael E. Stewart
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